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 7                             UNITED STATES DISTRICT COURT
 8                         CENTRAL DISTRICT OF CALIFORNIA
 9

10                                                   )   Case CV 19-07722-ODW(JEMx)
                                                     )
11                                                   )
     Bureau of Consumer Financial Protection,        )   SCHEDULING MEETING OF
12                                                   )   COUNSEL
                                                     )   [FRCP 16, 26(f)]
13                                                   )
                                                     )   SCHEDULING CONFERENCE
14                                Plaintiff(s),      )   set for September 28, 2020 at 1:30
                                                     )   p.m.
15                 v.                                )   [FRCP 26(f)]
                                                     )
16                                                   )
     Certified Forensic Loan Auditors, LLC et al.,   )
17                                                   )
                                                     )
18                                                   )
                                                     )
19
                          Defendant(s).              )
20   ________________________________

21          This case has been assigned to the calendar of United States District Judge
22   Otis D. Wright II. The responsibility for the progress of litigation in the federal
23   courts falls not only upon the attorneys in the action, but upon the court as well.
24          In order “to secure the just, speedy, and inexpensive determination of every
25   action,” Fed. R. Civ. P. 1, all counsel are hereby ordered to familiarize themselves
26   with the Federal Rules of Civil Procedure and the Local Rules of the Central
27   District of California.
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 1   Counsel please note the changes made to former Local Rule 6, now superseded by

 2   Federal Rules of Civil Procedure 16 and 26(f), effective December 1, 2000. A

 3   Scheduling Conference is set for the date and time set forth in the caption.1

 4   Counsel shall meet at least 21 days in advance of the Scheduling Conference to

 5   prepare a jointly signed report for the court to be submitted no less than 7 days

 6   before the Scheduling Conference. See Fed. R. Civ. P. 26(f)(1)–(2). The report is

 7   to contain the items set forth below. Pursuant to Rule 16(c), the parties shall be

 8   represented by counsel with authority to enter into stipulations regarding all

 9   matters pertaining to conduct of the case.

10          The joint report to be submitted shall contain the items listed in Rule 26(f),

11   the parties’ recommendations and agreements, if any, about the final scheduling

12   order as listed in Rule 16(b)(1) through (6), and those items listed in Rule 16(c)

13   which counsel believe will be useful to discuss at the Scheduling Conference.

14   Items which must be listed are the following:

15                  (1)    a listing and proposed schedule of written
                           discovery, depositions, and a proposed
16                         discovery cut-off date;

17                  (2)    a listing and proposed schedule of law and
                           motion matters, and a proposed dispositive
18                         motion cut-off date;

19                  (3)    a statement of what efforts have been made
                           to settle or resolve the case to date and what
20                         settlement procedure is recommended
                           pursuant to Local Rule 16-15.4 (specifically
21                         excluding any statement of the terms
                           discussed);
22
                    (4)    an estimated length of trial and a proposed
23

24          1
                Unless there is a likelihood that upon motion by a party the Court would order that any
     or all discovery is premature, it is advisable for counsel to begin to conduct discovery actively
25
     before the Scheduling Conference required by Rule 16(b). At the very least, the parties shall
26   comply fully with the letter and spirit of Rule 26(a) and thereby obtain and produce most of what
     would be produced in the early stage of discovery, because at the Scheduling Conference the
27   Court will impose tight deadlines to complete discovery.
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 1                          date for the Final Pretrial Conference and
                            for Trial;
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                    (5)     a discussion of other parties likely to be
 3                          added;

 4                  (6)     whether trial will be by jury or to the court;

 5                  (7)     any other issues affecting the status or
                            management of the case; and
 6
                    (8)     proposals regarding severance, bifurcation or other
 7                          ordering of proof.

 8          In addition, the Scheduling Conference Report shall contain the following:

 9                  (1)     a short synopsis of the principal issues in the
                            case;
10
                    (2)     a statement of whether pleadings are likely
11                          to be amended;

12                  (3)     a statement as to issues which any party 2
                            believes may be determined by motion.
13

14          At the Scheduling Conference, the court will set a date for discovery cut-

15   off,3 a final date by which dispositive motions must be set for hearing, a Final

16   Pretrial Conference date, and a trial date.

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19              Where the Plaintiff’s claim is predicated in whole or in part on denial of benefits under
     a plan regulated by the Employee Retirement Income Security Act of 1974, 29 U.S.C. § 1000 et
20   seq. (ERISA), the parties shall address the following additional issues in their Joint Report:
     (1) Standard of Review: What standard of review is applicable? If the parties are in
21   disagreement, they shall propose a schedule for early briefing and decision of this issue on
22   Motion; and (2) Pre-emption: Is there any contention that any state-law claim asserted by
     Plaintiff is pre-empted by ERISA? If so, the parties shall propose a schedule for early briefing
23   and decision of the issue on Motion.

24          3
               This is not the date by which discovery requests must be served; but the date by which
     all discovery is to be completed. Any motion challenging the adequacy of discovery responses
25   must be filed timely, served and calendared sufficiently in advance of the discovery cutoff date
26   to permit the responses to be obtained before that date, if the motion is granted. The Court
     requires compliance with Local Rule 37-1 and 37-2 in the preparation and filing of discovery
27   motions. Except in the case of an extreme emergency which was not created by the lawyer
     bringing the motion, discovery motions may not be heard on an ex parte basis.
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 1   A continuance of the Scheduling Conference will be granted only for good

 2   cause. (Counsel are informed that continuance of the Scheduling Conference

 3   causes commensurate delay in the trial date.) The failure to submit a joint report

 4   in advance of the Scheduling Conference or the failure to attend the

 5   Scheduling Conference may result in the dismissal of the action, striking the

 6   answer and entering a default, or the imposition of sanctions.

 7         A settlement procedure appropriate to the particular case will be used in

 8   every civil action pursuant to Local Rule 16-15.1. In the Scheduling Conference

 9   Report, counsel are to recommend a specific settlement procedure provided for in

10   Local Rule 16-15 which will be utilized in this case. Available alternatives for

11   consideration, not to the exclusion of others, include:

12                (1)   a settlement conference before the
                        magistrate or district judge assigned to this
13                      case (Local Rule 16-15.4(1));

14                (2)   appearance before an attorney selected from
                        the Attorney Settlement Officer Panel (Local
15                      Rule 16-15.4(2));

16                (3)   appearance before a retired judicial officer
                        or other private or non-profit dispute
17                      resolution body for non-judicial settlement
                        or mediation proceedings (Local Rule 16-
18                      15.4(3));

19                (4)   such other settlement mechanism proposed
                        by the parties and approved by the court.
20

21         The report to the court as to the above items should be preceded by a

22   thorough and frank discussion among the attorneys for the parties. A Joint

23   Scheduling Report which does not comply with Rule 16, Rule 26(f), and this Order

24   may cause continuance of the Scheduling Conference and possible award of

25   sanctions under Rule16(f) against the party or parties responsible. A conformed

26   courtesy copy of the Joint Report shall be delivered to the courtesy box on the 4th

27   Floor, U.S. Courthouse, 350 w. 1st Street, on the following business day.

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 1          Motions shall be filed in accordance with Local Rule 7; the next available

 2   motion date can be found on the Court’s motion calendar, which can be viewed on

 3   the Court’s website.4 This Court hears motions on Mondays, commencing at

 4   1:30 p.m. No supplemental brief shall be filed without prior leave of Court.

 5   Conformed courtesy copies of opposition and reply papers shall be delivered to

 6   the courtesy box on the 4th FLOOR of the U.S. Courthouse, 350 w. 1st Street, by

 7   the following business day. Courtesy copies shall not be blue-backed.

 8   Adherence to the timing requirements is mandatory for chambers' preparation of

 9   motion matters.

10          Counsel should take note of the changes to the Local Rules affecting motion

11   practice in the Central District. Among other things, Local Rule 7-3 requires

12   counsel to engage in a pre-filing conference “to discuss thoroughly . . . the

13   substance of the contemplated motion and any potential resolution.” Counsel

14   should discuss the issues sufficiently that if a motion is still necessary, the briefing

15   may be directed to those substantive issues requiring resolution by the Court.

16   Counsel should resolve minor procedural or other nonsubstantive matters during

17   the conference.

18          Memoranda of Points and Authorities in support of or in opposition to

19   motions shall not exceed 25 pages. Replies shall not exceed 12 pages. Only in

20   rare instances and for good cause shown will the Court grant an application to

21   extend these page limitations. Typeface shall comply with Local Rule 11-3.1.1.

22   NOTE: Times New Roman font must be used and the size must be no less than

23   14. Footnotes shall be in typeface no less than two sizes smaller than text size and

24   shall be used sparingly. Filings that do not conform to the Local Rules and this

25   Order will not be considered.

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27              All law and motion matters, except for motions in limine, must be set for hearing (not
     filing) by the motion cutoff date.
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 1          Each party filing or opposing a motion or seeking the determination of any

 2   matter shall serve and lodge a Proposed Order setting forth the relief or action

 3   sought and a brief statement of the rationale for the decision with appropriate

 4   citations.

 5          Counsel are reminded ex parte applications are solely for extraordinary

 6   relief. See Mission Power Engineering Co. v. Continental Casualty Co., 883 F.

 7   Supp. 488 (C.D. Cal. 1995).

 8          Counsel for plaintiff shall immediately serve this Order on all parties who

 9   have not yet appeared in this matter, including any new parties later added to the

10   action.

11          IT IS SO ORDERED.

12   DATED: June 4, 2020

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                                                   ______________________
15                                                 Otis D. Wright II
                                                   United States District Judge
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28   Rev. 10/08                                6
